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                         UNITED STATES DISTRICT COURT CENTRAL
                                  DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
        v.                                        )        Case No.: 20-CR-40056
                                                  )
MITCHELL ALLEN MELEGA,                            )
                                                  )
                         Defendant.               )

                             DEFENDANT’S MOTION TO CONTINUE

        Now comes Defendant, MITCHELL ALLEN MELEGA, through his attorney, Maribeth Egert

Dura, and for his Motion to Continue states as follows:

        1.      This matter is set for trial on January 8, 2024. A Pre-Trial is set for November 29, 2023.

That the trial date was determined to be time sufficient for counsel for Defendant and Co-Defendant to

be prepared for trial at that time. The Co-Defendant has since entered a plea. Defendant’s attorney had

not been in the case as long as the co-defendant’s attorney as the Defendant had a private attorney for

a significant amount of time. Unfortunately, Defendant’s counsel was unaware at that time that discovery

was approximately 1.6 million pages.

        2.      This case involves approximately 1.6 million pages of discovery. Defendant’s counsel

needs more time to get through discovery. The discovery in this matter is voluminous and the

Defendant’s attorney is not ready for trial nor will she be on January 8, 2024. The Defendant is

requesting additional time to get through discovery.

        3.      This continuance is made in good faith and the ends of justice would outweigh the

interests of the parties by continuing this pretrial and current trial setting as Defendant’s attorney cannot

get through 1.5 million more pages of discovery by the current trial setting and represent the Defendant

effectively at trial without going through all the discovery.




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       4.      The Defendant has been consulted and concurs in this request.

       WHEREFORE, The Defendant prays this Honorable Court grant Defendant’s Motion to

Continue and reset the matter and for further relief as the Court deems just and equitable.

                                               MITCHELL ALLEN MELEGA, Defendant,

                                               By: /s/ Maribeth Egert Dura
                                               Attorney for Defendant




                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2023, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the following:


John K Mehochko                     john.mehochko@usdoj.gov, angela.mae.hutton@usdoj.gov,
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                                                        By: /s/ Maribeth Egert Dura
                                                        Attorney for Defendant



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